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                                                             FILED IN CHAMBERS
                                                               U.S.D.C. Rome
                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                                                                  MAY 31 2011
                            ROME DIVISION
                                                            JAM~h."1 i tON, Clerk
UNITED STATES OF AMERICA,                                   By: L--()~~f~ Ckm


     v.                                CRIMINAL ACTION
                                       NOS. 4:10-CR-43-4
MARLOS CELIS-SOSA and LUCIO                  4:10-CR-43-5
CELIS-SOSA,
           Defendants.




     After carefully considering the report and recommendation of

the magistrate judge,    together with the objections thereto.           the

court receives it with approval and adopts it as the opinion and

order of this court.

     SO ORDERED, this    3Jg' day of May, 2011.




                                        L. VINING,
                                 Senior United States District Judge
